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                                              EXHIBIT D

        Summary of O’Kelly Ernst & Bielli, LLC Hours Worked and Fees Incurred


  Name of                           Year                      Hourly        Total Billed      Total
                     Title                    Department
Professional                       Admitted                 Billing Rate      Hours        Compensation
   David
                    Partner         2012      Bankruptcy      $350.00          61.8         $21,630.00
  Klauder
  Shannon
                  Associate         2012      Bankruptcy      $180.00          42.8         $7,704.00
 Dougherty
                  Law Clerk
   Cory         (until 1/13/15);
                                    2015      Bankruptcy      $120.00           0.9          $108.00
Stephenson         Associate
                (as of 1/14/15)
Amy Huber          Paralegal         N/A      Bankruptcy      $125.00           33.1         $4,137.50
 TOTAL                                                                         138.6        $33,579.50
